                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:01-cr-00031-MOC

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )         AMENDMENT 780 SCHEDULING
Vs.                                           )                 ORDER
                                              )
SHONE EDWARD WILKES,                          )
                                              )
                Defendant.                    )



       THIS MATTER is before the court on the Supplement to the Presentence Report

Pursuant to Guideline Amendment 780 (“Supplement”) (#654), which the court deems to be its

own Motion for Consideration of a Sentence Reduction Under § 3582(c)(2) and Amendment §

780 (“Motion”). Inasmuch as it appears from the Supplement that defendant is likely entitled to

immediate release, the parties are encouraged to meet, confer, and report to the court in lieu of

the following Scheduling Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that

       (1)    unless and until defendant affirmatively declines such appointment in a writing

              filed with this court, the Federal Defender is APPOINTED to represent defendant

              in this matter;

       (2)    within seven (7) days of the filing of this Order, the government shall file its

              Response, if any;




                                                  1

      Case 3:01-cr-00031-MOC          Document 655        Filed 01/16/15     Page 1 of 2
      (3)      within fourteen (14) days of the filing of this Order, the defendant shall file his or

               her Reply, if any, to the government’s Response and therein responsively address

               the findings contained in the Supplement; and

      (4)      no Response or Reply may exceed five (5) pages and the court will not entertain

               extensions of time or page limits.


Signed: January 16, 2015




                                                 2

     Case 3:01-cr-00031-MOC             Document 655        Filed 01/16/15      Page 2 of 2
